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                                          U NI T E D S T A T E S DI S T RI C T C O U R T
                                          S O U T H E R N DI S T RI C T O F F L O RI D A


                                             C A S E N o. 1 5- C R - 2 0 4 7 3-U N G A R O
    U NI T E D S T A T E S O F A M E RI C A               :
    Vs.                                                   :
    M ATT HE W GREER                                      :
              D ef e n d a nt.                            :
    . . . . . . . . . . . . . . . .


              M A T T H E W G R E E R ’ S M O TI O N F O R E A R L Y T E R MI N A TI O N O F HI S
                           S U P E R VI S E D R E L E A S E O N N O V E M B E R 1 , 2 0 1 9
                               ( N o o bj e cti o n f r o m t h e U. S. Att o r n e y’s Offi c e)

              Wit h o ut o bj e cti o n fr o m t h e g o v er n m e nt , M att h e w Gr e er r es p e ctf ull y r e q u ests a n e arl y

    t er mi n ati o n of his s u p er vis e d r el e as e. I n s u p p ort of t his r e q u est,           Mr. Gr e er s u b mits t h e

    f oll o wi n g:

              O n S e pt e m b er 2 3, 2 0 1 5, Mr. Gr e er pl e d g uilt y t o t w o s e p ar at e c o u nts of c o ns pir a c y t o

    st e al g o v er n m e nt m o n e y a n d pr o p ert y. O n D e c e m b er 7, 2 0 1 6, t his C o urt s e nt e n c e d Mr. Gr e er

    t o t hirt y-si x m o nt hs i n pris o n a n d a n a d diti o n al t hr e e y e ars of s u p er vis e d r el e as e u p o n r el e as e

    fr o m pris o n.

              O n J a n u ar y 2 7, 2 0 1 7, Mr. Gr e er s urr e n d er e d t o t h e U nit e d St at es M ars h al a n d b e g a n

    s er vi n g his s e nt e n c e . D uri n g his ti m e i n c ust o d y,       Mr. Gr e er w as n ot t h e s u bj e ct of a n y

    i nfr a cti o ns or disci pli n ar y a cti o ns . T o t h e c o ntr ar y, w hil e i n c ar c er at e d, Mr. Gr e er s u c c essf ull y

    c o m pl et e d a n i nt e nsi v e tr e at m e nt pr o gr a m. F urt h er, Mr. Gr e er’s “s u bst a nti al assist a n c e t o l a w

    e nf or c e m e nt ” w as n ot e d i n a F e br u ar y 2 7, 2 0 1 8 m oti o n f or r e d u cti o n of s e nt e n c e p urs u a nt t o

    F e d er al R ul e of Cri mi n al Pr o c e d ur e R ul e 3 5 fil e d b y Assist a nt U nit e d St at es Att or n e ys Mi c h a el

    S h er wi n a n d Mi c h a el B er g er ( s e e D. E. 4 9 4), w hi c h w as gr a nt e d b y t h e C o urt o n M ar c h 1, 2 0 1 8
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    (s e e D. E. 4 9 5). Mr. Gr e er w as r el e as e d fr o m t h e F e d er al Pri s o n C a m p i n                        M o nt g o m er y,

    Al a b a m a o n A pril 2 0, 2 0 1 8.

               Aft er his r el e as e,       Mr. Gr e er s er v e d t h e r e m ai n d er of his s e nt e n c e as p art of t h e

    R esi d e nti al R e - Entr y pr o gr a m at B a n y a n H e alt h S yst e ms i n Mi a mi, Fl ori d a. D uri n g t his ti m e,

    Mr. Gr e er w or k e d at t h e L ot us H o u s e w o m e n’s s h elt er i n Mi a mi. H e r e c ei v e d hi g h m ar ks f or

    his p arti ci p ati o n a n d p ositi v e b e h a vi or a n d w as gr a nt e d h o m e visit ati o n pri vil e g es. Mr. Gr e er

    w as n ot t h e s u bj e ct of a ny i nfr a cti o ns or dis ci pli n ar y a cti o ns at B a n y a n. O n A u g ust 2 1, 2 0 1 8,

    Mr. Gr e er w as r el e as e d f or s u p er visi o n b y pr o b ati o n a n d h as si n c e c o m pli e d f ull y wit h t h e

    t er ms a n d c o n diti o ns of his s u p er visi o n. H e n o w r e q u ests t h at his t er m of s u p er vis e d r el e as e

    e n d o n N o v e m b er 1, 2 0 1 9.

               U n d er 1 8 U . S. C. § 3 5 8 3 a n d t h e F e d er al R ul es of Cri mi n al Pr o c e d ur e , t h e C o urt h as t h e

    a ut h orit y t o t ermi n at e a t er m of s u p er vis e d r el e as e a n d dis c h ar g e a d ef e n d a nt r el e as e d at a n y

    ti m e aft er t h e e x pir ati o n of o n e y e ar of s u p er vis e d r el e as e if it is s atisfi e d t h at s u c h a cti o n is

    w arr a nt e d b y t h e c o n d u ct of t h e d ef e n d a nt r el e as e d a n d t h e i nt er est of j usti c e. S e e U nit e d St at es

    v. J o h ns o n , 8 7 7 F. 3 d 9 9 3, 9 9 6 n. 7 ( 1 1t h Cir. 2 0 1 7); S e e als o F e d. R. Ci v . P. 3 2. 1( b).

               W h e n ass essi n g a d ef e n d a nt’s r e q u est f or e arl y t er mi n ati o n,          t h e C o urt is r e q uir e d t o

    c o nsi d er c ert ai n s e nt e n ci n g f a ct ors s et o ut i n 1 8 U . S.C § 3 5 5 3 i n cl u di n g t h e hist or y a n d

    c h ar a ct eristi cs of a d ef e n d a nt. S e e i d. Mr. Gr e er                u n d erst a n ds his wr o n g d oi n g a n d t h e

    c o ns e q u e n c es of his a cti o ns a n d as ks t h at his s u p er vis e d r el e as e p eri o d b e r e d u c e d b e c a us e h e

    h as c o m pli e d wit h t h e r e q uir e m e nts i m p os e d b y t h e C o urt . T h e r estri cti o ns of his li b ert y t o d at e

    h a v e s er v e d t h e p ur p os e of b ot h p u nis h m e nt a n d d et err e n c e.                    H e h as d e m o nstr at e d

    r es p o nsi bilit y, tr ust w ort hi n ess a n d r eli a bilit y si n c e his r el e as e fr o m c ust o d y.

               W e h a v e c o nf err e d wit h Assist a nt U nit e d St at es Att or n e y Mi c h a el S h er wi n w h o d o es

    n ot o bj e ct. A d diti o n all y, o n S e pt e m b er 1 1, 2 0 1 9, c o u ns el f or Mr. Gr e er s p o k e wit h S e ni or

    Pr o b ati o n Offi c er J o h n C arl es w h o i n di c at e d t h at h e h as s u p er vis e d Mr. Gr e er si n c e his r el e as e


                                                                         2
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    fr o m t h e B a n y a n H alf w a y H o us e a n d Mr. Gr e er h as b e e n c o m pli a nt wit h t h e c o n diti o ns of

    s u p er vis e d r el e as e d.

               A p r o p os e d or d er is att a c h e d f or t h e C o urt’s c o nsi d er ati o n.

                                                         R es p e ctf ull y s u b mitt e d,

                                                         K O B R E & K I M, L L P

                                                         Att or n e ys f or M att h e w Gr e er

                                                         2 0 1 S o ut h Bis c a y n e B o ul e v ar d, S uit e 1 9 0 0
                                                           Mi a mi, Fl ori d a 3 3 1 3 1
                                                          T el: ( 3 0 5) 9 6 7- 6 1 0 0

                                                         /s/ A dri a n a Ri vi er e -B a d ell
                                                         M att h e w I. M e n c h el ( F B N 1 2 0 4 3)
                                                         A dri a n a Ri vi er e - B a d ell ( F B N 3 0 5 7 2)
                                                         K o br e & Ki m L L P
                                                          2 0 1 S o ut h Bis c a y n e B o ul e v ar d, S uit e 1 9 0 0
                                                            Mi a mi, Fl ori d a 3 3 1 3 1
                                                          T el: ( 3 0 5) 9 6 7- 6 1 0 0
                                                         E m ail: a dri a n a.ri v er e - b a d ell @ k o br e ki m. c o m
                                                         E m ail: m att h e w. m e n c h el @ k o br e ki m. c o m




                                                                      3
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                                                 C E R TI FI C A T E O F S E R VI C E

              I h er e b y c ertif y t h at o n S e pt e m b er 1 2 , 2 0 1 9, I el e ctr o ni c all y fil e d t h e f or e g oi n g
    Pr o p os e d M oti o n f or Tr a v el wit h t h e Cl er k of t h e C o urt usi n g C M/ E C F, w hi c h will g e n er at e
    N oti c es of El e ctr o ni c Fili n g f or t h e f oll o wi n g c urr e nt c o u ns el of r e c or d:
                                                           S E R VI C E LI S T

     Mi c h a el R. S h er wi n
     Mi c h a el.s h er wi n @ us d oj. g o v
     3 0 5- 9 6 1- 9 0 6 7

     Mi c h a el N. B er g er
     mi c h a el. b er g er @ us d oj. g o v
     3 0 5- 9 6 1- 9 4 4 5

     El ois a D el g a d o F er n a n d e z
     el ois a. d.f er n a n d e z @ us d oj. g o v
     3 0 5- 9 6 1- 9 0 2 5

     K ar e n R o c hli n
     k ar e n.r o c hli n @ us d oj. g o v
     3 0 5- 9 6 1- 9 2 3 4

     U S Att or n e y’s Offi c e
     9 9 N E 4t h St.
     Mi a mi, F L 3 3 1 3 2

     Att or n e ys f or t h e U nit e d St at es of A m eri c a

    D at e d: S e pt e m b er 1 2, 2 0 1 9                           /s/ A dri a n a Ri vi er e -B a d ell
                                                                     A dri a n a Ri vi er e -B a d ell




                                                                       4
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                                           U NI T E D S T A T E S DI S T RI C T C O U R T
                                           S O U T H E R N DI S T RI C T O F F L O RI D A


                                             C A S E N o. 1 5- C R - 2 0 4 7 3-U N G A R O


    U NI T E D S T A T E S O F A M E RI C A               :
    Vs.                                                   :
    M ATT HE W GREER                                      :
              D ef e n d a nt.                            :
    . . . . . . . . . . . . . . . .



             O R D E R O N D E F E N D A N T’ S M O TI O N F O R E A R L Y T E R MI N A TI O N O F
                                                HI S S U P E R VI S E D R E L E A S E
              T his m att er is b ef or e t h e C o urt o n t h e d ef e n d a nt M att h e w Gr e er’s M oti o n f or E arl y

    T er mi n ati o n of His S u p er vis e d R el e as e . F or g o o d c a us e, it h er e b y:

              O R D E R E D A N D A DJ U D G E D t h at t h e m oti o n is G R A N T E D. Mr. Gr e er ’s s u p er vis e d

    r el e as e s h all b e t er mi n at e d eff e cti v e N o v e m b er 1, 2 0 1 9.




              D O N E A N D O R D E R E D t his _ _ _ _ _ d a y of                                  , 2 0 1 9.




                                                                      ______________________________________
                                                                     H O N O R A BLE U RS UL A U N G A R O
                                                                     U NI T E D S T A T E S DI S T RI C T J U D G E


    C o pi es F ur nis h e d t o:
    C o u ns el of R e c or d
